                      Case 18-22982-LMI       Doc 36    Filed 10/01/19     Page 1 of 3
                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


INRE:                                                                    CASE NO.: 18-22982-BKC-LMI
                                                                      PROCEEDING UNDERCHAPTER 13
ROBERTO E GARCIA
MARIA GARCIA




                           TRUSTEE'S MOTION TO DISMISS AND
                     CERTIFICATE OF SERVICE OF NOTICE OF HEARING


   COMES NOW Nancy K. Neidich, Standing Chapter 13 Trustee, and files her Motion to Dismiss
pursuant to 11 U.S.C. Section 1307(c) for the reasons set forth below:

   1. Material change prejudicial to creditors in payment terms resulting from unscheduled, unlisted, or
      improperly listed tax or other claims.

   2. The Trustee faxed to the counsel of record a letter requesting the issue be addressed. See attached
      letter with fax confirmation.

   WHEREFORE, the Trustee requests the case be dismissed for failure to address the issue stated therein.


   I CERTIFY that a true and correct copy of the foregoing Trustee's Motion to Dismiss and Notice of
Hearing was mailed to those parties listed below on i D I 1 I ·7.- t: 1 c1



                                                           NANCY K. NEIDICH, ESQUIRE
                                                           STANDING CHAPTER 13 TRUSTEE
                                                           P.O. BOX 279806
                                                           MIRAMAR, FL 33027-9806

                                                           By: /s/===l;-='I======
                                                           o Adisley ortez-Rodriguez, Esq.
                                                             FLORIDA BAR NO: 0091727
                                                          "i.._
                                                             Amy Carrington, Esq.
                                                             FLORIDA BAR NO: 101877
                                                           o Jose Ignacio Miceli, Esq.
                                                                  FLORIDA BAR NO: 0077539
                 Case 18-22982-LMI   Doc 36   Filed 10/01/19   Page 2 of 3
                                         NOTICE OF HEARING AND TRUSTEE'S MOTION TO DISMISS
                                                                 CASE NO.: 18-22982-BKC-LMI

                            CERTIFICATE OF SERVICE

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

By Mail:
DEBTORS
ROBERTO E GARCIA
rv1ARIA GARCIA
1565 W 55TH PLACE
HIALEAH, FL 33012-2277

Via Electronic Service:
ATTORNEY FOR DEBTORS
ROBERT SANCHEZ, ESQUIRE
355 W 49 STREET
HIALEAH, FL 33012
                            Case 18-22982-LMI             Doc 36     Filed 10/01/19          Page 3 of 3
08/26/2019 MON 13:33            FAX 9544434452                                    CH13MIAMI FAX                              141001

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                                                    ***    FAX TX REPORT    ***
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        OFFICE OF THE CHAPTER 13 STANTIING TRUS ltE
        Southern District of Florida
                                                                                                      -------~"~--




                                                                                        NANCY K. NEIDICH, 1RUSTEE
                                                                                                      P.O. Box 279806
                                                                                               :tvliramar, Florida 33027
                                                                                                         (954) 443-4402
                                                                                            Facsimile: (954) 443-4452
         () 8/26/20 19



         To: ROBERT SANCHEZ, ESQ


         Re: GARCIA                                    Case: 18-22982- LMI


        Dear ROBERT SANCHEZ, ESQ


       The Trustee has recommended confirmation of a Plan in the above-referenced case based upon your assurance
       that the creditor had agreed to the Debtor's treatment of its collateral.


        Creditor: DEPT STORES NB

        Unresolved Objection to claim DEl/33. POC LATE-FILED



       The Debtor is directed to either file a Iviotion to tvlodify the Confinned Plan to include the amount listed in the
       Proof of Claim, or an Objection to the Proof of Cfoim within twenty (20) days of this and the Trnstee may file a
       Motion to Dismiss this case with prejudice for six (6) months.



        Very truly yours,


        Claims Administrator
        OFFICE OF THE CHAPTER 13 STA1'1IJING TRUSTEE
